 Case 2:22-cv-00293-JRG      Document 832 Filed 11/12/24             Page 1 of 3 PageID #:
                                      72605



                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION

NETLIST, INC.                                §
                                             §
v.                                           §
                                             §    CIVIL ACTION NO. 2:22-CV-00293-JRG
SAMSUNG ELECTRONICS CO., LTD.,               §
SAMSUNG ELECTRONICS AMERICA,                 §
INC., SAMSUNG SEMICONDUCTOR,                 §
INC.

             MINUTES FOR JURY SELECTION/JURY TRIAL DAY NO. 1
            HELD BEFORE U. S. DISTRICT JUDGE RODNEY GILSTRAP
                               November 12, 2024

OPEN: 09:20 AM                                                       ADJOURN: 06:29 PM

ATTORNEYS FOR PLAINTIFF:                         See attached

ATTORNEYS FOR DEFENDANTS:                        See attached

LAW CLERKS:                                      Brendan McLaughlin
                                                 Danielle Zapata
                                                 Amy Wann

COURT REPORTER:                                  Shawn McRoberts, RMR, CRR

COURTROOM DEPUTY:                                Andrea Brunson, CP

    TIME                                    MINUTE ENTRY
 09:20 AM   Court opened.
 09:20 AM   Court’s greeting, introduction and preliminary remarks to Jury Pool.
 09:34 AM   Court called for announcements from the parties.
 09:35 AM   Court continued by providing case information and gave preliminary instructions
            to Jury Pool.
 09:44 AM   Prospective Jurors began introduction of themselves.
 10:10 AM   Court provided additional instructions to Jury Pool.
 10:14 AM   Voir dire on behalf of Plaintiff by Ms. Truelove.
 10:45 AM   Voir dire on behalf of Defendants by Ms. Smith.
 11:15 AM   Bench conference with counsel re: challenges for cause.
 11:17 AM   Bench conference concluded.
 11:17 AM   Court instructions provided to Jury Pool. Court requested specific juror(s) to remain
            in courtroom while remainder of Jury Pool recessed.
 11:19 AM   Remainder of Jury Pool recessed.
 11:20 AM   Counsel approached bench.
Case 2:22-cv-00293-JRG      Document 832 Filed 11/12/24            Page 2 of 3 PageID #:
                                     72606



   TIME                                     MINUTE ENTRY
11:21 AM   Strike conference began with specifically named juror(s).
11:24 AM   Strike conference concluded. Attorneys excused to exercise strikes.
11:24 AM   Recess.
12:01 PM   Court reconvened.
12:01 PM   Bench conference.
12:06 PM   Bench conference concluded.
12:06 PM   Instructions given by the Court. Jurors selected.
12:09 PM   Jurors sworn.
12:12 PM   Remainder of Jury Pool excused.
12:13 PM   Additional instructions given by the Court.
12:31 PM   Jury recessed for lunch.
12:32 PM   Mr. Sheasby and Mr. Cordell provided update to the Court re: meet and confer
           efforts re: unresolved disputes re: objections to demonstratives.
12:35 PM   Court directed the parties to continue with meet and confer efforts and report to
           Court’s chambers by 1:00 PM.
12:37 PM   Recess.
01:38 PM   Court reconvened.
01:38 PM   Court imposed limitations re: demonstrative slides during witness testimony.
01:48 PM   Jury returned to courtroom.
01:49 PM   Court gave preliminary instructions to Jury.
02:24 PM   Notebooks provided to Jury.
02:25 PM   Continuation of Court’s preliminary instructions to Jury.
02:32 PM   Plaintiff’s opening statement by Mr. Sheasby.
03:01 PM   Bench conference.
03:06 PM   Bench conference concluded.
03:06 PM   Court provided clarification to the Jury.
03:07 PM   Defendants’ opening statement by Mr. Cordell.
03:37 PM   Opening statements concluded.
03:37 PM   Bench conference.
03:38 PM   Bench conference concluded.
03:38 PM   Court provided an instruction to the Jury.
03:39 PM   Rule invoked as to fact witnesses only.
03:40 PM   Plaintiff’s case-in-chief:
03:40 PM   Witness sworn.
03:42 PM   Direct examination of Mr. Scott Milton by Mr. Sheasby.
04:00 PM   Jury recessed for break.
04:00 PM   Court provided instruction to counsel re: demonstratives and pre-admitted exhibits.
04:04 PM   Recess.
04:13 PM   Court reconvened.
04:13 PM   Jury returned to courtroom.
04:14 PM   Continuation direct examination of Mr. Scott Milton by Mr. Sheasby.
04:17 PM   Request made on behalf of Defendants and Court granted Mr. Cordell voir dire
           examination of the witness, Mr. Scott Milton.
04:18 PM   Continuation direct examination of Mr. Scott Milton by Mr. Sheasby.
04:24 PM   Bench conference.
Case 2:22-cv-00293-JRG     Document 832 Filed 11/12/24          Page 3 of 3 PageID #:
                                    72607



   TIME                                  MINUTE ENTRY
04:26 PM   Bench conference concluded.
04:26 PM   Continuation direct examination of Mr. Scott Milton by Mr. Sheasby.
04:50 PM   Bench conference.
04:56 PM   Bench conference concluded.
04:56 PM   Continuation direct examination of Mr. Scott Milton by Mr. Sheasby.
05:04 PM   Bench conference.
05:04 PM   Bench conference concluded.
05:04 PM   Continuation direct examination of Mr. Scott Milton by Mr. Sheasby.
05:14 PM   Bench conference.
05:15 PM   Bench conference concluded.
05:15 PM   Continuation direct examination of Mr. Scott Milton by Mr. Sheasby.
05:21 PM   Bench conference.
05:23 PM   Bench conference concluded.
05:23 PM   Continuation direct examination of Mr. Scott Milton by Mr. Sheasby.
05:25 PM   Cross examination of Mr. Scott Milton by Mr. Cordell.
05:29 PM   Bench conference.
05:31 PM   Bench conference concluded.
05:31 PM   Continuation cross examination of Mr. Scott Milton by Mr. Cordell.
05:43 PM   Bench conference.
05:45 PM   Bench conference concluded.
05:45 PM   Court provided instruction to the Jury.
05:45 PM   Continuation cross examination of Mr. Scott Milton by Mr. Cordell.
05:46 PM   Bench conference.
05:48 PM   Bench conference concluded.
05:48 PM   Continuation cross examination of Mr. Scott Milton by Mr. Cordell.
06:03 PM   Bench conference.
06:04 PM   Bench conference concluded.
06:04 PM   Continuation cross examination of Mr. Scott Milton by Mr. Cordell.
06:12 PM   Redirect examination of Mr. Scott Milton by Mr. Sheasby.
06:17 PM   Bench conference.
06:18 PM   Bench conference concluded.
06:18 PM   Continuation redirect examination of Mr. Scott Milton by Mr. Sheasby.
06:20 PM   Recross examination of Mr. Scott Milton by Mr. Cordell.
06:21 PM   Additional redirect examination of Mr. Scott Milton by Mr. Sheasby.
06:22 PM   Completion of testimony of Mr. Scott Milton.
06:23 PM   Court provided instructions to the Jury.
06:23 PM   Jury recessed for the day until 8:30 AM tomorrow morning.
06:24 PM   Court to reconsider imposed limitations re: demonstrative slides during witness
           testimony.
06:28 PM   Court will be available by 7:30 AM tomorrow to take up unresolved disputes.
06:29 PM   Court adjourned.
